

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-66,006-03






JUAN R. RAMIREZ, Relator


v.


 351st JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NOS. 984839-B AND 984840-B


FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed applications for writ of habeas corpus in the 351st Judicial
District Court of Harris County, that more than 35 days have elapsed, and that the applications have not
yet been forwarded to this Court. Relator contends that the district court entered an order designating
issues on May 21, 2007.

	 In these circumstances, additional facts are needed.  The respondent, the judge of the 351st
District Court of Harris County, is ordered to file a response with this Court by having the District Clerk
submit the record on such habeas corpus application or by setting out the reasons that no findings have
been made since the order designating issues was entered.  This application for leave to file a writ of
mandamus will be held in abeyance until the respondent has submitted the appropriate response.  Such
response shall be submitted within 30 days of the date of this order.


Filed: January 16, 2008

Do not publish	


